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               ROPES & GRAY LLP

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                                                n.S. DISTRICT COURT
                                                 District of mass.
April 23, 2019                                                                   Anne F. Hancock
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BY HAND


Barbara Beatty
Courtroom Clerk, Judge Woodlock
1 Courthouse Way
Boston, MA 02210

Re;       Soneeyav. Turco, 07-cv-\2325

Dear Ms. Beatty:

Enclosed please find an updated index for Judge Woodlock's exhibit binder in connection with the
above-referenced matter. For your reference, we have included hard copies of Exhibits 35-47 and
504. Exhibits 35-37 are updated stamped versions of what were previously marked as Defendant's
A-C. Exhibit 38 is an updated stamped version of the Bauer study, admitted in evidence on April 9,
2019. Exhibits 40-46 and 504 are scientific publications that the Court requested.

We are also providing, as Exhibit 47, the current docket, as well as filings regarding Ms. Soneeya's
criminal case, as requested by the Court. The filings in Exhibit 47 include:

      •   Case Docket, dated as of April 10, 2019. Ex. 47-A.
      •   Petition for Habeas Corpus, dated March 11, 2010. Ex. 47-B.
      •   Motions, Responses, Orders, and related filings regarding Physical Evidence and Forensic
          Analysis. Exs. 47-C - O; 47-Q - U.
      •   Letter dated October 6, 2014, from Richard C. McFarland, senior litigation attomey for the
          DOC, to Dianne M. Dillon, Assistant District Attomey for Hampden County, regarding a
          follow-up request for crime scene photographs that the DOC believes are "highly relevant to
          the independent evaluation of Soneeya's treatment for genderdysphoria ...." Ex. 47-P.'

' On April 6, 2018, Plaintiff served the DOC with a production request for "[a]ll Documents and Communications
concerning or related to Ms. Soneeya's medical care, including without limitation any plans, guidelines, procedures,
files, records, reports, treatment plans, evaluations (psychological, psychopharmacological, and all other), health
services authorization forms, requests, grievances, recommendations, orders, notes, letters, memos, correspondence, and
any drafts thereof," as well as "[a]ll Documents and Communications concerning or relating to the evaluation of Ms.
Soneeya conducted by Dr. Randi Ettner on March 22, 2016." This letter was responsive to both requests, but not
produced to Plaintiff.
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     ROPES & GRAY LLP


                                             2-                          April 23,2019


     Respectfully submitted,



     Isf Anne F. Hancock
     Anne F. Hancock

     Enclosures

     cc:    Jennifer Staples
            Samuel Miller
